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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                            :          CASE NO. 20-71598-WLH
                                                  :
NICOLE RENEE PAINTER,                             :          CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :


   MOTION FOR ORDER AUTHORIZING SETTLEMENT WITH DEBTOR UNDER
                RULE 9019 OF THE FEDERAL RULES OF
                     BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Nicole Renee Painter (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Settlement with Debtor under Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Settlement Motion”). In support of the

Settlement Motion, Trustee respectfully shows the Court as follows:

                                       Jurisdiction and Venue

         1.        This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                            Background

                                 a. General Background and Dispute

         2.        On November 10, 2020 (the “Petition Date”), Debtor filed a voluntary petition

for relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy



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Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 20-71598-WLH) (the “Bankruptcy Case”).

        3.     Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

        4.     On the Petition Date, Debtor was the sole owner of record of a certain real

property with a common address of 384 Eagle Tiff Drive, Sugar Hill, Georgia 30518 (the

“Property”).

        5.     In addition, Debtor had an interest in a tax refund with an approximate value of

$2,500.00, two Sea Doos, and bank accounts with a non-exempt value of $2,752.00 (collectively,

the “Personal Property Interests” and with the Property, the “Property Interests”).

        6.     Debtor’s interests in the Property Interests are property of the Bankruptcy Estate.

See 11 U.S.C. § 541 (2020).

        7.     Rather than Trustee’s attempting to sell, collect, and liquidate the Property

Interests, Debtor would like to purchase the Property Interests from the Bankruptcy Estate (the

“Transfer Dispute”).

                                          b. Filed Claims

        8.     The claims bar date in this case for governmental entities was May 9, 2021 and

for non-governmental entities was April 6, 2021. The total of the timely filed, non-priority,

general unsecured claims is $29,835.81.

                                          The Settlement

        9.     Following negotiations, Trustee and Debtor (collectively, the “Parties”) have

reached an agreement to transfer the Property Interests to Debtor by Trustee’s abandoning them

to Debtor following the payment of a sum certain by Debtor. In this regard, the Parties have



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entered into a Settlement Agreement (the “Settlement Agreement”). Trustee attaches a copy of

the Settlement Agreement as Exhibit “A” to this Settlement Motion. Significant terms of the

Settlement Agreement are as follows:1

               a.     Within five (5) business days after the Settlement Approval Order
                      becomes final, Debtor shall pay $35,000.00 (the “$35,000.00 Settlement
                      Funds”) in good funds to Trustee in exchange for Trustee’s abandoning
                      the Property Interests to Debtor.2

               b.     The Property Interests shall be deemed abandoned upon the later of: (a)
                      Trustee’s receipt in full of the $35,000.00 Settlement Funds from Debtor
                      in good funds; or (b) the Settlement Approval Order3 becoming final.

               c.     The Parties stipulate and agree that Debtor shall not have a claim under
                      Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                      account of payment of the $35,000.00 Settlement Funds, or for any reason,
                      and that neither Debtor nor any of her affiliates, agents, principals, or
                      subsidiaries shall receive a distribution from the Bankruptcy Estate.

               d.     Effective upon the Settlement Approval Order becoming final, Debtor
                      shall waive any and all obligations that the Bankruptcy Estate may
                      otherwise have to pay to Debtor out of the $35,000.00 Settlement Funds
                      on account of exemptions asserted by or on behalf of Debtor, if any, in the
                      Property Interests or the $35,000.00 Settlement Funds.

                                        Relief Requested

        10.    By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.




1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
        Debtor has delivered the $35,000.00 Settlement Funds to Trustee.
3
        Capitalized terms not defined in this Motion shall have the meanings ascribed to them in
the Settlement Agreement.

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                                          Basis for Relief

        11.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        12.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

        13.    The proposed settlement will allow Trustee to make a meaningful distribution (if

not a substantial distribution) to the holders of timely filed general unsecured claims in this




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Bankruptcy Case and avoid the costs and risks of marketing and selling (and/or liquidating) the

Property Interests.

        14.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.

        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

        Respectfully submitted, this 27th day of December, 2021.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement with
Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class United
States mail on the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Craig Zander Black
The Craig Black Law Firm, LLC
Suite 200
5555 Glenridge Connector NE
Atlanta, GA 30342

Nicole Renee Painter
384 Eagle Tiff Drive
Sugar Hill, GA 30518




        This 27th day of December, 2021.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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